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                              IN THE UNITED STATES DISTRICT COURT
                                        DISTRICT OF UTAH

 STEFFEN MAUTE, derivatively on behalf of
 MERIT MEDICAL SYSTEMS, INC.,
                                                           ORDER GRANTING
                 Plaintiff,                                STIPULATED MOTION
                                                           TO STAY DERIVATIVE
                                                           ACTION
 vs.

 FRED P. LAMPROPOULOS; RAUL PARRA;
 A. SCOTT ANDERSON; JILL D. ANDERSON;                    Case No. 2:21-cv-00346-DBP
 THOMAS J. GUNDERSON; F. ANN MILLNER;
 LYNNE N. WARD; and JUSTIN F.                    Chief Magistrate Judge Dustin B. Pead
 LAMPROPOULOS,

                 Defendants,

 – and –

 MERIT MEDICAL SYSTEMS, INC., a Utah
 corporation,

                 Nominal Defendant.
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       Based upon the parties’ Stipulated Motion to Stay Derivative Action and good cause

appearing therefor, the Court hereby grants the following:

       1.      To the extent any of the Defendants have not yet been served, each of the

Defendants hereby accepts service of the Summons and Complaint, without waiver of any defenses

that any of them may have other than as to service of process.

       2.      The Derivative Action (including all discovery) shall be temporarily stayed for a

period of one hundred and eighty (180) days, but subject to each party’s right: (i) to move the

Court to lift or extend the stay, and (ii) to oppose such motions to lift or extend the stay.

       3.      Plaintiff may file an amended complaint during the pendency of the stay.

Defendants need not answer, move, or otherwise respond to an amended complaint, if one is filed,

during the pendency of the stay.

       4.      Defendants may, at their sole discretion, answer, move, or otherwise respond to the

existing complaint or any amended complaint during the pendency of the stay. Plaintiff need not

respond to any motion, if one is filed, during the pendency of the stay.

       5.      Defendants expressly reserve all procedural and substantive defenses and

objections to any and all claims, theories, and factual allegations of the Derivative Action,

including defenses that no demand has been made on the Company or the Company’s Board of

Directors, that a demand would not be futile, and that the Company and its Board of Directors (or

a Committee established by the Board) have internal governance rights that are paramount in this

context.




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       6.      If the stay of proceedings is lifted, the parties shall meet and confer and submit a

proposed scheduling order within twenty-one (21) days governing further proceedings in the

Derivative Action, including the date by which Defendants must answer or otherwise plead.

       7.      Defendants shall promptly notify Plaintiff if and when they become aware of any

derivative lawsuits filed in any forum subsequent to the above-captioned Derivative Action or

threatened derivative lawsuits (including requests to inspect Merit’s books and records pursuant

to Utah Code Ann. § 16-10a-1602, or pre-suit litigation demands on Merit’s board of directors)

that are related to the conduct alleged in the above-captioned Derivative Action.

       8.      The parties agree that while the Derivative Action is stayed, in the event Defendants

provide any documents or responses to discovery requests (formal or informal) in the Securities

Action, Defendants shall provide to Plaintiff as soon as practicable all such documents and

discovery responses.

       9.      Any information provided by Defendants to Plaintiff, whether in the form of a

production of documents or any other form, shall be treated by Plaintiff as confidential and

governed by the Standard Protective Order generally applicable in this court pursuant to DUCivR

26-2(a).

       10.     The parties also agree that when mediation takes place in regard to the Securities

Action (or any other factually related shareholder action), Defendants will provide reasonable

advance notice of, and invite and encourage Plaintiff’s reasonable participation in, the mediation.

      DATED this 23 August 2021.




                                            Dustin B. Pead
                                            United States Magistrate Judge
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APPROVED AS TO FORM:


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